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                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

LA UNION DEL PUEBLO ENTERO, et al.

vs.                                                 Case No.: 5:21-cv-844-XR
W. ABBOTT, et al.


                        MOTION FOR ADMISSION PRO HAC VICE

TO THE HONORABLE JUDGE OF SAID COURT:

       Comes now Elissa Gershon                                            , applicant herein, and

moves this Court to grant admission to the United States District Court for the Western District of

Texas pro hac vice to represent OCA-Greater Houston Plaintiffs                    in this case, and

would respectfully show the Court as follows:


       1.      Applicant is an attorney and a member of the law firm (or practices under the name of)
               American Civil Liberties Union Foundation, Inc.           with offices at:

               Mailing address: 125 Broad St.

               City, State, Zip Code: New York, NY, 10004

               Telephone: 510-847-1077                      Facsimile: 212-607-3318


       2.      Since    1994                                  , Applicant has been and presently is a

               member of and in good standing with the Bar of the State of California                   .

               Applicant's bar license number is 169741                                                 .


       3.      Applicant has been admitted to practice before the following courts:

               Court:                                       Admission date:
               Eastern District of California               December 2012

               Central District of California               October 2014

               Ninth Circuit Court of Appeals               April 2010
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4.      Applicant is presently a member in good standing of the bars of the courts listed above,

        except as provided below (list any court named in the preceding paragraph before which

        Applicant is no longer admitted to practice):

        N/A




5.      I      have         have not previously applied to Appear Pro Hac Vice in this district

        court in Case[s]:

        Number:                              on the        day of                        ,         .

        Number:                              on the        day of                        ,         .

        Number:                              on the        day of                        ,         .

6.      Applicant has never been subject to grievance proceedings or involuntary removal

        proceedings while a member of the bar of any state or federal court, except as

        provided:
        N/A




7.      Applicant has not been charged, arrested, or convicted of a criminal offense or offenses,

        except as provided below (omit minor traffic offenses):

        N/A




8.      Applicant has read and is familiar with the Local Rules of the Western District of Texas

        and will comply with the standards of practice set out therein.
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                                       28        September            2023
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                                         UNITED STATES DISTRICT COURT
                                             WESTERN DISTRICT OF TEXAS
                                                 SAN ANTONIO DIVISION


LA UNION DEL PUEBLO ENTERO, et al.

YV                                                                         &DVH1R 5:21-cv-844-XR
W. ABBOTT, et al.



                                                                   ORDER

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                                 Elissa Gershon
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 OCA-Greater Houston Plaintiffs
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 Elissa Gershon                                                                           OCA-Greater Houston Plaintiffs
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                                       Elissa Gershon
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District CourtLQFRPSOLDQFHZLWK/RFDO&RXUW5XOH$7O I  

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                                                                            Please Choose Judge
